              Case 22-11252-amc                        Doc         Filed 11/18/24 Entered 11/18/24 08:55:23                                 Desc Main
   Fill in this information to identify the case:                  Document      Page 1 of 8
Debtor 1                 Angela R. Koutsouros
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Eastern District of Pennsylvania
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             2211252
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                      12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             3
                                                                                                   Court claim no. (if known): _______________________
  Wells Fargo Bank, N.A.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                            01/01/2025
                                                                                                                                             _____________


                                                                                                  New total payment:
                                                                                                                                             2560.36
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      6 ____
                                                                    ____ 1 ____
                                                                            0 ____
                                                                                2

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

             No
            ✔ Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
            
                for the change. If a statement is not attached, explain why:



                                           833.71
                Current escrow payment: $ _________________                                                                       960.64
                                                                                                            New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔ No
             Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

               Current principal and interest payment: $ __________________                     New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.     Will there be a change in the debtor’s mortgage payment for a reason not listed above?
              ✔ No
              
               Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
               Reason for change:



                      Current mortgage payment: $ _________________                                New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
            Angela R. Koutsouros                                                                 2211252
      Case 22-11252-amc                 Doc Filed    11/18/24 Entered 11/18/24
            ________________________________________________________
      Debtor 1
            First Name        Middle Name    Last Name
                                                                          Case number (if08:55:23         Desc Main
                                                                                         known) ______________________

                                            Document           Page 2 of 8
 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

     I am the creditor.
    ✔
     I am the creditor’s authorized agent.


 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Angela M. Mills-Fowler
      ______________________________________________________________
      Signature
                                                                                      11/18/2024
                                                                                Date _______________




 Print:______________________________________________________________
        FOWLER,ANGELA M. MILLS                                                   VP Loan Documentation
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                  Street

            P.O. Box 1629
            _____________________________________________________________
            Address 2

             Minneapolis                             MN      55440-9790
            _____________________________________________________________
              City                                      State        ZIP Code



                     800-274-7025                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
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                                                  Document
                       UNITED STATES BANKRUPTCY COURT           Page 3 of 8

                                                   Eastern District of Pennsylvania


                                                    Chapter 13 No. 2211252
                                                    Judge: Chief Judge: Ashely M. Chan

In re:
Angela R. Koutsouros
                                           Debtor(s).

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before November 19, 2024 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                             By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     Angela R. Koutsouros
                                     12 Wilkshire Rd

                                     Doylestown PA 18901



                                    By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     N/A




Debtor’s Attorney:                   By Court's CM/ECF system registered email address
                                     MICHAEL A. CIBIK
                                     Cibik Law, P.C.
                                     1500 Walnut St Ste 900

                                     Philadelphia PA 19102


                                     By Court's CM/ECF system registered email address
                                     N/A




Trustee:                             By Court's CM/ECF system registered email address
                                     KENNETH E. WEST
                                     Office of the Chapter 13 Standing Trustee
                                     1234 Market Street - Suite 1813

                                     Philadelphia PA 19107

                                                          _______________________________________________
                                                          /s/Angela M. Mills-Fowler
                                                            VP Loan Documentation
                                                            Wells Fargo Bank, N.A.
SLMR 0000001
                   Case 22-11252-amc                Doc        Filed 11/18/24 Entered 11/18/24 08:55:23 Desc Main
                          Return Mail Operations               Document      Page 4 ofEscrow
                                                                                       8     Review Statement
                          PO Box 14547                                                          For informational purposes only
                          Des Moines, IA 50306-4547
                                                                                                Statement Date:                             November 7, 2024
                                                                                                Loan number:
                                                                                                Property address:
                                                                                                    12 WILKSHIRE ROAD
                                                                                                    DOYLESTOWN PA 18901


                                                                                                Customer Service
                                                                                                     Online                          Telephone
                                                                                                     wellsfargo.com                  1-800-340-0473
                  ANGELA R KOUTSOUROS
                                                                                                     Correspondence                  Hours of operation
                  PAUL A KOUTSOUROS                                                                  PO Box 10335                    Mon - Fri 7 a.m. - 7 p.m. CT
                  12 WILKSHIRE RD                                                                    Des Moines, IA 50306
                  DOYLESTOWN PA 18901-2848                                                           To learn more, go to:
                                                                                                     wellsfargo.com/escrow


                                                                                                       We accept telecommunications relay service calls



        If you are in an active bankruptcy case or have received a discharge under the United
        States Bankruptcy Code, this statement is being sent to you for informational
        purposes only. The informational summaries below are based on the terms of the
        loan.
        These amounts are governed by the terms of the loan unless otherwise reduced by an
        order of the bankruptcy court. Because the amounts billed for the escrow items can
        change over time, we review the escrow account at least once per year to ensure there
                                                                                                  The escrow account has a shortage of
        will be enough money to make these payments. Once the review is complete, we send                     $1,449.72
        the escrow review statement, also known as the escrow account disclosure statement.

        Here's what we found:
             · Required Minimum Balance: The escrow account balance is projected to
                fall below the required minimum balance. This means there is a shortage .

               · Payments: As of the January 1, 2025 payment, the escrow portion of the
                 payment increases.



        Part 1 - Mortgage payment

         New Payment                   The new total payment will be $2,560.36
                                        Previous payment through New payment beginning with
                                        12/01/2024 payment date   the 01/01/2025 payment
                                                                                                           No action required
       Principal and/or interest                 $1,599.72                $1,599.72

       Escrow payment                              $833.71                 $960.64              Starting January 1, 2025 the new payment
                                                                                                amount will be $2,560.36
       Total payment amount                    $2,433.43                $2,560.36




                                                          See the following pages for more detail.
                                                                                                                                             Page 2 of 5
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                                                                                             Loan Desc Main
                                                                                                  Number:
                                                      Document      Page 5 of 8
    Part 2 - Payment calculations
For the past review period, the amount of the escrow items was $9,697.97. For the coming year, we expect the amount paid from escrow to be
$10,077.97 .

How was the escrow payment calculated?
To determine the escrow payment, we add the projected escrow items to be paid over the next 12 months. We base these projected amounts on any
escrow items that may have been paid in the past and any future anticipated payments to be made. We then divide the amounts by 12 payments to
determine the escrow amount.

The chart below includes any actual escrow disbursements as well as any shortage that may have been identified for the past three analysis periods up
through the date of the analysis.



Escrow comparison

                                                                                                                                       New monthly
                                  06/22 - 05/23      01/23 - 12/23       01/24 - 11/24    01/25 - 12/25
                                                                                                                      # of               escrow
                                    (Actual)           (Actual)            (Actual)        (Projected)
                                                                                                                     months              amount

Property taxes                          $4,048.94          $4,141.38         $4,384.97       $4,384.97        ÷         12       =          $365.41
Property insurance                      $2,405.00         $2,405.00          $3,413.00       $3,413.00        ÷         12       =          $284.42
Total taxes and insurance               $6,453.94         $6,546.38          $7,797.97       $7,797.97        ÷         12       =         $649.83
Escrow shortage                             $0.00            $501.65         $1,178.09      $1,449.72         ÷         12       =          $120.81
Mortgage insurance                      $2,280.00         $2,280.00          $1,900.00       $2,280.00        ÷         12       =          $190.00

Total escrow                            $8,733.94         $9,328.03         $10,876.06      $11,527.69        ÷         12       =          $960.64


Projected escrow account activity over the next 12 months

To determine if there will be a shortage or overage in the account, we calculate whether the amount of the lowest projected escrow balance will be
greater or less than the required minimum balance. This is determined by subtracting the required minimum balance from the lowest projected
balance. If the outcome is positive, there is an overage . If it is negative, there is a shortage . The calculation is below:


                                                                                                  (Calculated in Part 4 - Escrow account projections
Lowest projected escrow balance August 2025                                    -$577.75           table)

Bankruptcy adjustment‡                                              +           $427.69

Minimum balance for the escrow account†                              -       $1,299.66


Escrow shortage                                                     =        -$1,449.72


‡
 This adjustment of $427.69, is the remaining amount of the pre-petition escrow shortage included in our proof of claim being paid through the
confirmed bankruptcy plan.
†
 The minimum balance includes a cash reserve to help cover any increase in taxes and/or insurance as allowed by state laws and/or the mortgage
contract. The cash reserve amount does not include mortgage insurance. This account is set to a 2 month cash reserve amount. To calculate the cash
reserve for the escrow account, we add the yearly escrow payments, and divide by 6.
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                                                              Document      Page 6 of 8              Loan Number:



  Part 3 - Escrow account history
Escrow account activity from November 2023 to December 2024
                    Deposits to escrow                       Payments from escrow                                                       Escrow balance
  Date         Actual  Projected Difference              Actual   Projected Difference                  Description           Actual       Projected Difference
Nov 2023                                                                                        Starting Balance              $1,051.25
Nov 2023          $711.89                                   $190.00                             PMI INSURANC                   $1,573.14

Dec 2023          $711.89                                   $190.00                             PMI INSURANC                  $2,095.03

Jan 2024         $833.71        $735.54       $98.17         $0.00      $190.00     -$190.00 PMI Insurance                    $2,928.74     $3,818.66    -$889.92

Jan 2024           $0.00            $0.00      $0.00        $190.00       $0.00      $190.00 PMI Insurance                    $2,738.74     $3,818.66   -$1,079.92

Feb 2024         $833.71        $735.54       $98.17         $0.00      $190.00     -$190.00 PMI Insurance                    $3,572.45     $4,364.20     -$791.75

Feb 2024           $0.00            $0.00      $0.00        $190.00       $0.00      $190.00 PMI Insurance                    $3,382.45     $4,364.20    -$981.75

Mar 2024         $833.71        $735.54       $98.17         $0.00      $190.00     -$190.00 PMI Insurance                    $4,216.16     $4,909.74    -$693.58

Mar 2024           $0.00            $0.00      $0.00        $190.00       $0.00      $190.00 PMI Insurance                    $4,026.16     $4,909.74    -$883.58

Apr 2024           $0.00        $735.54     -$735.54         $0.00      $190.00     -$190.00 PMI Insurance                    $4,026.16     $5,455.28   -$1,429.12

Apr 2024           $0.00            $0.00      $0.00      $1,162.46    $1,042.52      $119.94 DOYLESTOWN TWP TAX COL.         $2,863.70     $4,412.76   -$1,549.06

Apr 2024           $0.00            $0.00      $0.00        $190.00       $0.00      $190.00 PMI Insurance                    $2,673.70     $4,412.76   -$1,739.06

May 2024        $1,667.42       $735.54      $931.88         $0.00      $190.00     -$190.00 PMI Insurance                    $4,341.12     $4,958.30     -$617.18

May 2024           $0.00            $0.00      $0.00     $3,413.00    $2,405.00    $1,008.00 LIBERTY MUTUAL                     $928.12     $2,553.30   -$1,625.18

May 2024           $0.00            $0.00      $0.00        $190.00       $0.00      $190.00 PMI Insurance                      $738.12     $2,553.30   -$1,815.18

Jun 2024         $833.71        $735.54       $98.17         $0.00      $190.00     -$190.00 PMI Insurance                    $1,571.83     $3,098.84   -$1,527.01

Jun 2024           $0.00            $0.00      $0.00        $190.00       $0.00      $190.00 PMI Insurance                    $1,381.83     $3,098.84   -$1,717.01

Jul 2024         $833.71        $735.54       $98.17         $0.00      $190.00     -$190.00 PMI Insurance                    $2,215.54     $3,644.38   -$1,428.84

Jul 2024           $0.00            $0.00      $0.00        $190.00       $0.00      $190.00 PMI Insurance                    $2,025.54     $3,644.38   -$1,618.84

Aug 2024         $833.71        $735.54       $98.17         $0.00      $190.00     -$190.00 PMI Insurance                    $2,859.25     $4,189.92   -$1,330.67

Aug 2024           $0.00            $0.00      $0.00      $3,222.51   $3,098.86       $123.65 CENTRAL BUCKS S.D./DOYLE         -$363.26     $1,091.06   -$1,454.32

Aug 2024           $0.00            $0.00      $0.00        $190.00       $0.00      $190.00 PMI Insurance                     -$553.26     $1,091.06   -$1,644.32

Sep 2024         $833.71        $735.54       $98.17         $0.00      $190.00     -$190.00 PMI Insurance                     $280.45      $1,636.60   -$1,356.15

Sep 2024           $0.00            $0.00      $0.00        $190.00       $0.00      $190.00 PMI Insurance                       $90.45     $1,636.60   -$1,546.15

Oct 2024         $833.71        $735.54       $98.17         $0.00      $190.00     -$190.00 PMI Insurance                      $924.16     $2,182.14   -$1,257.98

Oct 2024           $0.00            $0.00      $0.00        $190.00       $0.00      $190.00 PMI Insurance                      $734.16     $2,182.14   -$1,447.98

Nov 2024         $833.71        $735.54       $98.17        $190.00     $190.00        $0.00 PMI Insurance                    $1,377.87     $2,727.68   -$1,349.81
(estimate)

Dec 2024         $833.71        $735.54       $98.17        $190.00     $190.00        $0.00 PMI Insurance                    $2,021.58     $3,273.22   -$1,251.64
(estimate)

Totals         $11,428.30     $8,826.48     $1,178.04    $10,457.97   $8,826.38     $1,251.59


If the activity contains (estimate), then "deposits to" or "payments from" escrow or both are estimated amounts that have not actually occurred.



  Part 4 - Escrow account projections
Escrow account projections from January 2025 to December 2025
                                             What we
                 Payments to                 expect to                                                                Projected escrow        Balance required
Date               escrow                     pay out           Description                                               balance              in the account
Dec 2024                                                        Starting balance                                            $2,021.58               $3,898.99
Jan 2025               $839.83                   $190.00        PMI Insurance                                               $2,671.41               $4,548.82
Feb 2025               $839.83                   $190.00        PMI Insurance                                               $3,321.24               $5,198.65
Mar 2025               $839.83                   $190.00        PMI Insurance                                               $3,971.07               $5,848.48
Apr 2025               $839.83                   $190.00        PMI Insurance                                              $4,620.90                $6,498.31
Apr 2025                    $0.00               $1,162.46       DOYLESTOWN TWP TAX COL.                                    $3,458.44                $5,335.85
May 2025               $839.83                   $190.00        PMI Insurance                                              $4,108.27                $5,985.68
May 2025                    $0.00               $3,413.00       LIBERTY MUTUAL                                               $695.27                $2,572.68
Jun 2025               $839.83                   $190.00        PMI Insurance                                               $1,345.10               $3,222.51
Jul 2025               $839.83                   $190.00        PMI Insurance                                               $1,994.93               $3,872.34
Aug 2025               $839.83                   $190.00        PMI Insurance                                              $2,644.76                $4,522.17
Aug 2025                    $0.00               $3,222.51       CENTRAL BUCKS S.D./DOYLE                                    -$577.75               $1,299.66
Sep 2025               $839.83                   $190.00        PMI Insurance                                                 $72.08                $1,949.49
Oct 2025               $839.83                   $190.00        PMI Insurance                                                $721.91                $2,599.32
                                                                      ***Continued on next page ***
                                                                                                                          Page 4 of 5
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                                                                                              Number:
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                                   What we
              Payments to          expect to                                                  Projected escrow   Balance required
Date            escrow              pay out        Description                                    balance         in the account
Nov 2025           $839.83             $190.00     PMI Insurance                                    $1,371.74         $3,249.15
Dec 2025           $839.83             $190.00     PMI Insurance                                    $2,021.57         $3,898.98

Totals           $10,077.96          $10,077.97




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NMLSR ID 399801 Member FDIC
         Case 22-11252-amc                  Doc        Filed 11/18/24 Entered 11/18/24 08:55:23 Desc Main Page 5 of 5
                                                       Document      Page 8 of 8              Loan Number:




Important notice

Your mortgage may require private mortgage insurance (PMI) which protects lenders against financial loss should borrowers default on their
mortgage. Under certain circumstances, federal law allows you to cancel PMI or requires that PMI be automatically terminated. This could reduce
your mortgage payment. If you paid for the PMI policy up front at the time of closing, cancelling PMI will not impact your monthly mortgage
payment amount.

Under Federal law

If you obtained your mortgage on or after July 29, 1999 and used the funds to purchase, construct, or refinance your primary residence, your
mortgage is covered by the Homeowners Protection Act of 1998 (HPA). If you obtained your mortgage before July 29, 1999, or if your property has
multiple units or is an investment property, your loan is not covered by the HPA.

There are two ways in which you may proceed:

1. Cancellation requested by borrower
   You can request to have the PMI cancelled on or after either of these dates:
   · The date the principal balance of your mortgage is first scheduled to reach 80% of the original value of the property.
   · The date the principal balance actually reaches 80% of the original value of the property.
  You must also meet these qualifications:
  · Your loan must be current on your mortgage payments with no past due payments owed. You must also have a good payment history. A good
    payment history is defined as not having any payments 30 or more days late in the last 12 months and no payments 60 or more days late in the
    last 24 months.
  · At your own expense, you must order a new valuation through us that shows the value of your property has not declined below its original value.
    Original value is defined as the lesser of either the appraisal value of your property when your loan closed or the actual price you paid for your
    property.

2. Automatic termination of PMI
   We will automatically terminate your PMI on the following date:
   · The date the principal balance of your mortgage is first scheduled to reach 78% of the original value of the property.
  You must also meet these qualifications:
  · You are up-to-date on your mortgage payments.
  · If you are not current on your mortgage payments as of the scheduled termination date, your PMI will automatically be terminated when you
    become current.

  In any event, PMI will not be required beyond the midpoint of your amortization period for the loan as long as you are current on your
  mortgage payments.


Investor options

The investor who owns your loan may allow additional options to cancel PMI using your property’s current value. To learn more about your specific
investor options, please contact us.


Are you eligible to have your PMI cancelled or terminated?

Our servicing representatives will be happy to let you know if you meet the requirements to have your PMI cancelled or terminated. They will advise
you whether an appraisal is required.

If you have any questions or need further assistance, please contact us at the phone number provided on the front of the statement.
